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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-MJ-017
CLEVELAND GROVER MEREDITH, JR., : VIOLATIONS:
> =©18 U.S.C. § 875(c)
: (Interstate Communication of Threats)
Defendant. : 7D.C. Code § 2502.01(a)

(Possession of Unregistered Firearms)
7 D.C. Code § 2506.01(a)(3)
: (Possession of Unregistered Ammunition)
: 7D.C. Code § 2506.01(b)
: (Possession of Large Capacity Ammunition
Feeding Devices)
INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 7, 2021, within the District of Columbia and elsewhere,
CLEVELAND GROVER MEREDITH, JR, did transmit in interstate and foreign commerce a
communication containing a threat to kidnap and injure Speaker of the House Nancy Pelosi,
specifically, by threatening that he was “{tJhinking about heading over to Pelosi CUNT’s speech
and putting a bullet in her noggin on Live TV [purple devil emoji].”

(Interstate Communication of Threats, in violation of Title 18, United States Code,
Section 875(c))

 
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COUNT TWO
On or about January 7, 2021, within the District of Columbia, CLEVELAND GROVER
MEREDITH, JR., did possess certain firearms, a Glock 19, 9mm handgun, and an IWI Tavor
X95 rifle, without being the holder of a valid registration certificate.

(Possession of Unregistered Firearms, in violation of Title 7, District of Columbia
Code, Section 2502.01(a))

COUNT THREE
On or about January 7, 2021, within the District of Columbia, CLEVELAND GROVER
MEREDITH, JR., did possess ammunition without being the holder of a valid registration
certificate.

(Possession of Unregistered Ammunition, in violation of Title 7, District of Columbia
Code, Section 2506.01(a)(3))

COUNT FOUR
On or about January 7, 2021, within the District of Columbia, CLEVELAND GROVER

MEREDITH, JR., did possess ten large capacity ammunition feeding devices.

(Possession of Large Capacity Ammunition Feeding Devices, in violation of Title 7,
District of Columbia Code, Section 2506.01 (b))

A TRUE BILL:

FOREPERSON.

Attorney of the United States in
and for the District of Columbia.
